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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

In re:                                                          CASE NO: 6:19-bk-04573-KSJ
                                                                CHAPTER 7
MICHAEL T. SHEPARDSON,

      Debtor
___________________________________/

                           WELLS FARGO BANK, N.A.'S
                  MOTION FOR RELIEF FROM THE AUTOMATIC STAY

                     (Re: 1635 Elizabeths Walk, Winter Park, Florida 32789)

         NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

Pursuant to Local Rule 2002-4, the Court will consider this the relief requested in this paper
without further notice or hearing unless a party in interest files a response within 21 days
from the date set forth on the attached proof of service, plus an additional three days for
service if any party was served by U.S. Mail.

If you object to the relief requested in this paper, you must file a response with the Clerk of
the Court at 400 W. Washington Street, Suite 5100, Orlando, FL 32801, and serve a copy on
the movant’s attorney, Patrick Hruby, Esq., at Brock & Scott, PLLC, 2001 Northwest 64th
Street, Suite 130 Fort Lauderdale, FL 33309, and any other appropriate persons within the
time allowed. If you file and serve a response within the time permitted, the Court will either
schedule and notify you of a hearing or consider the response and grant or deny the relief
requested without a hearing.

If you do not file a response within the time permitted, the Court will consider that you do
not oppose the relief requested in the paper, will proceed to consider the paper without
further notice or hearing, and may grant the relief requested.


         Wells Fargo Bank, N.A., its successors and assigns ("Secured Creditor"), by and through

its undersigned counsel, files this Motion for Relief from the Automatic Stay, and in support thereof

states as follows:

1.       The Court has jurisdiction over this matter pursuant to 11 U.S.C. § 362, Fed. R. Bankr. P.

4001(a) and the various other applicable provisions of the United States Bankruptcy Code, Federal


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Rules of Bankruptcy Procedure and the laws of the United States of America.

2.      On July 15, 2019, MICHAEL T. SHEPARDSON (“Debtor” as used herein will refer to a

single or multiple Debtors), filed a voluntary petition pursuant to Chapter 7 of the Bankruptcy

Code.

3.      Secured Creditor holds a security interest in the Debtor's real property located at 1635

Elizabeths Walk, Winter Park, Florida 32789 (the “Property”), by virtue of a Mortgage which is

recorded in book 9367 page 2559 and instrument number 20070492451 recorded the Public

Records of Orange County, Florida (the “Mortgage”). The Mortgage secures a Note in the amount

of $350,000.00 (the “Note”). A copy of the Mortgage, together with the Note and Assignments,

as applicable, is attached hereto as Exhibit A.

4.      The Mortgage gives Secured Creditor a lien on the Property, which is legally described as:




5.      The Property has not been claimed exempt by the Debtor. The Property has not been

abandoned by the Trustee.

6.      According to the Chapter 7 Individual Debtor’s Statement of Intention, the Debtor is

surrendering the Property. “See Declaration as to Surrendered Property attached hereto as Exhibit

B.” As of August 26, 2019, the Debtor is indebted to Secured Creditor in the amount of

$307,663.15 principal balance, with interest accruing, plus other fees and costs advanced by

Secured Creditor pursuant to the loan documents. Payments pursuant to the Mortgage have been

in default since November 13, 2018.

7.      According to the Debtor’s Schedule A, the value of the Property is $750,00.00. The

Property is subject to a first mortgage in favor of Valley National Bank, Successor to


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USAmeribank in the amount of $2,610,000.00. Therefore, there is no equity in the Property for

unsecured creditors.

8.     Secured Creditor's interest in the Property is being significantly jeopardized by the Debtor's

failure to make regular mortgage payments while Secured Creditor is prohibited from pursuing its

lawful remedies to protect such interest. Thus, the Debtor has failed to adequately protect the

interest of Secured Creditor.

9.     In addition, because this is a Chapter 7 case, the Property is not necessary to an effective

reorganization.

10.    Therefore, Secured Creditor maintains that cause exists pursuant to 11 U.S.C. § 362(d)(1)

and/or § 362(d)(2) for the automatic stay to be lifted.

11.    Pursuant to 11 U.S.C. § 362(e), Secured Creditor requests that, in the event a hearing is

necessary, said hearing be held within thirty (30) days.

12.    Secured Creditor has incurred attorneys' fees of $750.00 and costs of $181.00 as a result of

the necessity of filing this Motion. Said fees and costs are recoverable as part of the debt pursuant

to the loan documents but shall not be a personal liability of the Debtor.

13.    Secured Creditor requests that any communication by Secured Creditor in connection with

proceeding against the property including, but not limited to, notices required by state law and

communications to offer and provide information with regard to a potential forbearance agreement,

loan modification, refinance agreement, loss mitigation agreement or other loan workout, may be

sent directly to the Debtor.

14.    Because Debtor has indicated an intention to surrender the Property, Secured Creditor

requests that the Court waive the fourteen (14) day stay set forth in Bankruptcy Rule 4001(a)(3),

so that Secured Creditor can pursue its in rem remedies without further delay.


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       WHEREFORE, Secured Creditor, and its successors and assigns, respectfully requests

that the automatic stay be lifted so that Secured Creditor may be permitted to protect its security

interest in the Property outside the bankruptcy forum; that in the event a hearing is necessary, said

hearing be held within thirty (30) days; that Secured Creditor's attorneys' fees and costs incurred

in filing this Motion be recoverable as part of the debt pursuant to the loan documents under the

remedies available therein but shall not be a personal liability of the Debtor; that Secured Creditor

be permitted to contact the Debtor for the reasons stated; that the fourteen (14) day stay set forth

in Bankruptcy Rule 4001(a)(3) be waived; and such other and further relief as the Court may deem

just and proper.



                                              BROCK & SCOTT, PLLC
                                              Attorney for Secured Creditor
                                              2001 Northwest 64th Street, Suite 130
                                              Fort Lauderdale, FL 33309
                                              Phone: 813-342-2200
                                              Fax: 954-618-6954
                                              Floridabklegal@Brockandscott.com

                                              /s/ Patrick Hruby
                                              ___________________________________
                                              PATRICK HRUBY, ESQUIRE
                                              Florida Bar No. 0088657


       I HEREBY CERTIFY that a true copy hereof has been served electronically or via U.S.

mail, first-class postage prepaid, to:

The following persons were served by U.S. mail:

MICHAEL T. SHEPARDSON
2837 LAKE BALDWIN LANE, B302
ORLANDO, FL 32814-6970




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The following persons were served by e-mail:

Amy Denton Harris
110 Madison Street, Suite 200
Tampa, FL 33602

Arvind Mahendru
5703 Red Bug Lake Road
Suite 284
Winter Springs, FL 32708

United States Trustee - ORL7/13
Office of the United States Trustee, George C Young Federal Building
400 West Washington Street, Suite 1100
Orlando, FL 32801


       this 9th day of September 2019.

                                           BROCK & SCOTT, PLLC
                                           Attorney for Secured Creditor
                                           2001 Northwest 64th Street, Suite 130
                                           Fort Lauderdale, FL 33309
                                           Phone: 813-342-2200
                                           Fax: 954-618-6954
                                           Floridabklegal@Brockandscott.com

                                           /s/ Patrick Hruby
                                           ___________________________________
                                           PATRICK HRUBY, ESQUIRE
                                           Florida Bar No. 0088657




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                                            Exhibit “B”
                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

In re:                                                            CASE NO: 19-04573
                                                                  CHAPTER 7
MICHAEL T. SHEPARDSON,

      Debtor
_________________________________________/

                     DECLARATION AS TO SURRENDERED PROPERTY


         I, Patrick Hruby, declare under penalty of perjury as follows:
         1.       I am an attorney for Brock & Scott, PLLC, the law firm that filed the Motion for

Relief from Stay on behalf of Wells Fargo Bank, N.A. (the “Movant”.)

         2.       This Declaration is being filed in support of the Motion for Relief from Stay filed

in this action by Movant, its Successors and/or Assigns.

         3.       I have personally reviewed the Debtor's Voluntary Petition filed in this case.

According to the Debtor's Statement of Intentions, the Debtor(s) intends to surrender the real

property located at: 1635 Elizabeths Walk, Winter Park, Florida 32789, further described as:




          4.      As of the date of this declaration, I have examined the CM/ ECF docket for this
case and have found no entries evidencing a contrary intent on the part of the Debtor.
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Pursuant to 28 U.S.C. § 1746, I hereby declare under penalty of perjury under the laws of the
United States of America that the foregoing is true and correct. Executed this 4th day of
September 2019.



                                             /s/ Patrick Hruby
                                             PATRICK HRUBY, ESQUIRE
                                             Florida Bar No. 0088657



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